        Case 1:23-cv-10511-WGY Document 453 Filed 12/18/23 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                                    )
UNITED STATES OF AMERICA, et al.,                   )
                                                    )
                        Plaintiffs,                 )
                                                    )
v.                                                  )   Civil Action No. 1:23-cv-10511-WGY
                                                    )
JETBLUE AIRWAYS CORPORATION and                     )
SPIRIT AIRLINES, INC.,                              )
                                                    )
                        Defendants.                 )
                                                    )
                                                    )

                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants JetBlue Airways Corporation and Spirit Airlines, Inc. (“Defendants”)

respectfully submit this Notice of Supplemental Authority to inform the Court of the recent

decision by the U.S. Court of Appeals for the Fifth Circuit in Illumina, Inc. v. FTC, --- F.4th ----,

2023 WL 8664628 (5th Cir. Dec. 15, 2023), attached herewith as Exhibit A for the Court’s

reference. Although Illumina involves a different kind of Section 7 merger case – a vertical merger

reviewed by the Federal Trade Commission under its administrative rules – the Court of Appeals’

opinion discusses two points relevant here:

       First, the Illumina Court rejected an argument, similar to one advanced by the Government

here, that Defendants have the burden on rebuttal to “restore the pre-[merger] level of competition”

or “negate the anticompetitive effects of the merger entirely.” Id. at *13-14. The Illumina Court

concluded that:

           The Commission held Illumina to a rebuttal standard that was incompatible
           with the plain language of Section 7 of the Clayton Act, which only prohibits
           transactions that will “substantially” lessen competition. 15 U.S.C. § 18. And
           this error pervaded the Commission’s analysis of the Open Offer, as the
        Case 1:23-cv-10511-WGY Document 453 Filed 12/18/23 Page 2 of 5




           Commission invoked the wrong standard in five separate instances.
           Specifically, the Commission held that Illumina was required to “show that the
           Open Offer would restore the pre-[merger] level of competition,” i.e.,
           “eliminate Illumina’s ability to favor Grail and harm Grail’s rivals.” In effect,
           Illumina could only rebut Complaint Counsel’s showing of a likelihood of a
           substantial reduction in competition with a showing that, due to the Open Offer,
           the merger would not lessen competition at all. This was legal error.

Id. at *13 (emphasis in original); see also id. (explaining “the Government’s proposed standard

would effectively erase the word ‘substantially’ from Section 7” (quoting United States v.

UnitedHealth Grp. Inc., 630 F. Supp. 3d 118, 133 (D.D.C. 2022)); Dkt. No. 450 at 22-23

(Defendants’ Post-Trial Brief).

       Second, consistent with Defendants’ position in this case, the Fifth Circuit held that the

Government’s burden is to prove that the merger is “likely” to substantially lessen competition.

Illumina, 2023 WL 8664628, at *4, *7, *10, *14 (“It is not enough that a merger might lessen

competition – the FTC must show that the merger will probably substantially lessen competition.”

(quoting FTC v. Microsoft Corp., --- F. Supp. 3d ----, 2023 WL 4443412, at *13 (N.D. Cal. July

10, 2023))); see also Dkt. No. 450 at 1. In contrast, the Government has argued that it need only

show that the merger “create[s] an appreciable danger of such consequences in the future.” Gov’t

Closing Slides at 3. The Fifth Circuit’s decision is the latest in a long line of cases rejecting the

standard advanced by the Government.




                                                 2
       Case 1:23-cv-10511-WGY Document 453 Filed 12/18/23 Page 3 of 5




Dated: December 18, 2023           Respectfully submitted,

                                   /s/ Elizabeth M. Wright
                                   Zachary R. Hafer (MA BBO #569389)
                                   Elizabeth M. Wright (MA BBO #569387)
                                   Zachary Sisko (MA BBO #705883)
                                   Cooley LLP
                                   500 Boylston Street, 14th Floor
                                   Boston, MA 02116-3736
                                   Tel: 617-937-2300
                                   zhafer@cooley.com
                                   ewright@cooley.com
                                   zsisko@cooley.com

                                   Ethan Glass (Pro Hac Vice)
                                   Deepti Bansal (Pro Hac Vice)
                                   Matt K. Nguyen (Pro Hac Vice)
                                   Cooley LLP
                                   1299 Pennsylvania Avenue NW, Suite 700
                                   Washington, DC 2004-2400
                                   Tel: 202-842-7800
                                   Fax: 202-842-7899
                                   eglass@cooley.com
                                   dbansal@cooley.com
                                   mnguyen@cooley.com

                                   Ryan A. Shores (Pro Hac Vice)
                                   David I. Gelfand (Pro Hac Vice)
                                   Daniel P. Culley (Pro Hac Vice)
                                   Cleary Gottlieb Steen & Hamilton, LLP 2112
                                   Pennsylvania Avenue, NW
                                   Washington, DC 20037
                                   Tel: 202-974-1500
                                   rshores@cgsh.com
                                   dgelfand@cgsh.com
                                   dculley@cgsh.com

                                   Michael Mitchell (Pro Hac Vice)
                                   Brian Hauser (Pro Hac Vice)
                                   Shearman & Sterling LLP
                                   401 9th Street, N.W., Suite 800
                                   Washington, DC 20004
                                   Tel: 202-508-8005
                                   Fax: 202-661-7480
                                   michael.mitchell@shearman.com
                                   brian.hauser@shearman.com



                                      3
Case 1:23-cv-10511-WGY Document 453 Filed 12/18/23 Page 4 of 5




                            Jessica K. Delbaum (Pro Hac Vice)
                            Leila Siddiky (Pro Hac Vice)
                            Elizabeth Robinson (Pro Hac Vice)
                            Shearman & Sterling LLP
                            599 Lexington Avenue
                            New York, NY 10022-6069
                            Tel: 212-848-4000
                            Fax: 212-848-7179
                            jessica.delbaum@shearman.com
                            leila.siddiky@shearman.com
                            liz.robinson@shearman.com

                            Rachel Mossman Zieminski (Pro Hac Vice)
                            Shearman & Sterling LLP
                            2601 Olive Street, 17th Floor
                            Dallas, TX 75201
                            Tel: 214-271-5385
                            rachel.zieminski@shearman.com

                            Attorneys for Defendant JetBlue Airways
                            Corporation

                            Jay Cohen (Pro Hac Vice)
                            Andrew C. Finch (Pro Hac Vice)
                            Eyitayo St. Matthew-Daniel (Pro Hac Vice)
                            Jared P. Nagley (Pro Hac Vice)
                            Kate Wald (Pro Hac Vice)
                            Paul, Weiss, Rifkind, Wharton & Garrison LLP
                            1285 Avenue of the Americas
                            New York, NY 10019
                            Tel: 212-373-3000
                            Fax: 212-757-3990
                            jcohen@paulweiss.com
                            afinch@paulweiss.com
                            tstmatthewdaniel@paulweiss.com
                            jnagley@paulweiss.com
                            kwald@paulweiss.com

                            Meredith R. Dearborn (Pro Hac Vice)
                            Paul, Weiss, Rifkind, Wharton & Garrison LLP
                            535 Mission Street, 24th Floor
                            San Francisco, CA 94105
                            Tel: 628-432-5100
                            Fax: 628-232-3101
                            mdearborn@paulweiss.com

                            Attorneys for Defendant Spirit Airlines, Inc.


                               4
        Case 1:23-cv-10511-WGY Document 453 Filed 12/18/23 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Supplemental Authority, which was filed with

the Court through the ECF system on December 18, 2023, will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing (NEF).



                                                     /s/ Elizabeth M. Wright
                                                     Elizabeth M. Wright




                                                 5
